50 F.3d 9
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Kenneth Robert WALDRON, Defendant--Appellant.
    No. 94-7365.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 21, 1995.
    
      William Carlton Ingram, Jr., FLOYD, ALLEN &amp; JACOBS, Greensboro, NC, for Appellant.  Paul Alexander Weinman, Assistant United States Attorney, Greensboro, NC, for Appellee.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for a reduction of his sentence.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Waldron, No. CR-92-69-G (M.D.N.C. Nov. 7, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    